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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION


 AMANDA BOSARGE,                              §                      PLAINTIFFS
 individually and on behalf of their          §
 minor children, et al.                       §
                                              §
                                              §
 v.                                           §    Civil No. 1:22cv233-HSO-BWR
                                              §
                                              §
 DANIEL P. EDNEY,                             §
 in his official capacity as the State        §
 Health Officer, et al.                       §                    DEFENDANTS


            MEMORANDUM OPINION AND ORDER GRANTING
      DEFENDANT LYNN FITCH’S MOTION [43] TO DENY OR CONTINUE,
          OR ALTERNATIVELY, TO STAY OR HOLD IN ABEYANCE,
           PLAINTIFFS’ MOTION [4] FOR SUMMARY JUDGMENT,
            AND DENYING WITHOUT PREJUDICE PLAINTIFFS’
                MOTION [4] FOR SUMMARY JUDGMENT

        BEFORE THE COURT are the Motion [4] for Summary Judgment filed by

Plaintiffs, and the Motion [43] to Deny or Continue, or Alternatively, to Stay or

Hold in Abeyance, Plaintiffs’ Motion [4] for Summary Judgment filed by Defendant

Lynn Fitch, in her official capacity as the Attorney General of Mississippi (the

“Attorney General”), pursuant to Federal Rule of Civil Procedure 56(d).    These

Motions [3], [43] are fully briefed.

        Having considered the record and relevant legal authority, the Court is of the

opinion that the Attorney General’s Rule 56(d) Motion [43] should be granted and

that Plaintiffs’ Motion [4] for Summary Judgment should be denied without

prejudice, with leave to reassert upon the completion of discovery in this case.    The
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parties will be directed to contact the assigned Magistrate Judge to schedule a case

management conference for the purpose of entering an appropriate case

management order.

                                   I. BACKGROUND

       On September 1, 2022, Plaintiffs Amanda Bosarge, Jaquelyn Butler,

Kimberly Harrell, William Morgan, Pastor Paul Perkins, Brandi Renfroe, and Dr.

Jeana Stanley, individually and on behalf of their minor children (“Plaintiffs”), filed

a Verified Complaint [1] for Declaratory and Injunctive Relief against Defendants

Daniel P. Edney, in his official capacity as the State Health Officer; Lynn Fitch, in

her official capacity as the Attorney General of Mississippi; Ashley Blackman, in

her official capacity as Principal of East Central Lower Elementary School; Dr.

Archie R. Mitchell, in his official capacity as Principal of Senatobia Elementary

School; Allison Merit, in her official capacity as Principal of North Bay Elementary

School; Dr. Ashley Allred, in her official capacity as Principal of Vancleave Upper

Elementary School; and Douglas L. Tynes, in his official capacity as City Prosecutor

for Ocean Springs, Mississippi (“Defendants”). See Compl. [1] at 1-2.1

       Plaintiffs contend that Mississippi’s mandatory vaccine statute requiring

students to be vaccinated in order to attend public and private schools in the State

of Mississippi violates their rights under the Free Exercise Clause of the First




1 Plaintiffs have voluntarily dismissed their claims against Defendant Archie Mitchell, as
well as all of Plaintiff William Morgan’s claims. See Notice [62] at 1-2; Stip. [63] at 1-2.
The claims of Plaintiffs Bosarge, Butler, Harrell, Perkins, Renfroe, and Stanley remain
against Defendants Edney, Blackman, Merit, Allred, Tynes, and the Attorney General.

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Amendment to the United States Constitution. See id. at 3-38 (citing Miss. Code

Ann. § 41-23-37).   Plaintiffs’ minor children are unvaccinated due to their parents’

religious beliefs, and they claim that due to Mississippi’s compulsory vaccination

law set forth at Mississippi Code § 41-23-37, their children have not been allowed to

enroll at public or private schools in the State of Mississippi. See id.   The

Complaint asks the Court to:

       A.    [Enter a] preliminary and permanent injunction prohibiting
             Defendants, their agents, servants, employees and any other
             persons acting on their behalf from implementing and enforcing
             the Compulsory Vaccination Law challenged in this Complaint
             without providing the option for a religious exemption;
       B.    Declare that Miss. Code § 41-23-37 is unconstitutional on its face;
       C.    Declare that Miss. Code § 41-23-37 is unconstitutional as applied
             to Plaintiffs;
       D.    Declare that Miss. Code § 41-23-37 violates Plaintiffs’ First
             Amendment right to free exercise of religion;
       E.    Grant Plaintiffs reasonable attorneys’ fees and costs under 42
             U.S.C. § 1988 and any other applicable authority; and
       F.    For any such other and further relief as the Court deems
             equitable and just under the circumstances,

Id. at 40.

       One day after the Complaint was filed, Plaintiffs filed a Motion [3] for

Preliminary Injunction and Motion to Consolidate the Preliminary Injunction

Hearing with a Trial on the Merits, as well as a Motion [4] for Summary Judgment.

See Mot. [3]; Mot. [4].   Plaintiffs seek a preliminary injunction in their favor,

contending that the material facts necessary to resolve their claim are undisputed

and arguing that, because there are purportedly only legal questions at issue, the

Court should consolidate the preliminary injunction hearing with the trial on the

merits pursuant to Federal Rule of Civil Procedure 65(a)(2). See Mot. [3].

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        The Attorney General has responded with a Motion [43] to Deny or Continue,

or Alternatively, to Stay or Hold in Abeyance, Plaintiffs’ Motion [4] for Summary

Judgment pursuant to Rule 56(d). See, e.g., Resp. [41]; Mem. [42]; Mot. [43]; Mem.

[44].    The Attorney General states that no discovery has been conducted and that,

before responding to the Motion [4] for Summary Judgment, she should be afforded

an opportunity to conduct discovery regarding the factual basis of Plaintiffs’ First

Amendment claims. See Mot. [43]; Mem. [44].

        The Attorney General supports her request for discovery with the Rule 56(d)

Affidavit of her counsel, see Aff. [43-1], who asserts that the Attorney General

should be afforded the opportunity to conduct specific discovery which may be

relevant to her defenses, Plaintiffs’ standing, and the “‘substantial burden’ element

of Plaintiffs’ First Amendment claim,” id. at 2.    The discovery sought includes:        (1)

“the vaccination status and history of Plaintiffs’ children”; (2) “the school enrollment

history of Plaintiffs’ children”; (3) “the specific reasons that Plaintiffs’ children were

allegedly denied enrollment in Mississippi schools”; (4) “the factual basis for each

[P]laintiff’s decision not to enroll his or her child(ren) in Mississippi schools”; (5)

“the extent to which homeschooling, relocation, or commuting to an out-of-state

school may be predicated on or influenced by reasons other than a given [P]laintiff’s

religious convictions”; and (6) “the factual basis for Plaintiffs’ allegations of actual

or threatened enforcement of Mississippi’s school vaccination requirements in

connection with their children.” Id. at 1-2.

        Plaintiffs respond that the issues before the Court concerning the



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constitutionality of the statute at issue, Mississippi Code § 41-23-37 (the

“Compulsory Vaccination Law”), “are purely matters of law” and that “[t]here are no

genuine issues of material fact remaining.” Resp. [58] at 2.      However, “[t]o the

extent that the Court determines there are factual issues potentially remaining that

are needed to resolve the constitutional claims asserted, Plaintiffs respectfully

petition the Court to hold the motion in abeyance for 60 days while expedited

discovery can take place.” Id. at 3-4.   Relatedly, in their Reply [57] in support of

their Motion [57] for Preliminary Injunction, Plaintiffs state that if the Court

“believes additional discovery need be afforded to Defendant before rendering” final

adjudication on the merits, they request that the Court “dismiss[ ] the portion of

Plaintiffs[’] motion seeking final adjudication without prejudice.”   Reply [57] at 18.

                                 II.   DISCUSSION

A.    Legal standard

      Federal Rule of Civil Procedure 56(d) provides that

      [i]f a nonmovant shows by affidavit or declaration that, for specified
      reasons, it cannot present facts essential to justify its opposition, the
      court may:
      (1)    defer considering the motion or deny it;
      (2)    allow time to obtain affidavits or declarations or to take discovery;
             or
      (3)    issue any other appropriate order.

Fed. R. Civ. P. 56(d).

      A party seeking relief under Rule 56(d) “first must demonstrate that

additional discovery will create a genuine issue of material fact.” Bailey v. KS

Mgmt. Servs., L.L.C., 35 F.4th 397, 401 (5th Cir. 2022). She “must set forth a



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plausible basis for believing that specified facts, susceptible of collection within a

reasonable time frame, probably exist and indicate how the emergent facts, if

adduced, will influence the outcome of the pending summary judgment motion.” Id.

(quotation omitted). The party seeking discovery “may not simply rely on vague

assertions that discovery will produce needed, but unspecified, facts.” Id.

(quotation omitted).

      The Fifth Circuit has cautioned that, “[t]o provide litigants time to develop

facts necessary to defend their claims, Rule 56(d) motions are broadly favored and

should be liberally granted.” Dominick v. Mayorkas, 52 F.4th 992, 995 (5th Cir.

2022) (quotation omitted). A motion seeking the continuance of a motion for

summary judgment for the purpose of conducting discovery “should be granted

almost as a matter of course when the party opposing the summary judgment

informs the court that its diligent efforts to obtain evidence from the moving party

have been unsuccessful.” Id. (quotation omitted).

B.    Analysis

      No case management order has been entered in this case, and no discovery

has taken place. See Mem. [44] at 1 (“[T]he Attorney General has had no

opportunity or ability to conduct any discovery at all.”). The Attorney General has

presented her counsel’s Affidavit [43-1] averring that she cannot present facts that

would be essential to her defenses, such as the threshold issue of Plaintiffs’

standing, and the elements of Plaintiffs’ claims, without the benefit of some

specified discovery. See Aff. [43-1] at 1-2. The Court finds this articulated need



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for discovery to be sufficient under the liberal Rule 56(d) standard to grant the

Attorney General the relief she seeks, particularly given that “Rule 56(d) motions

are broadly favored.” Dominick, 52 F.4th at 995.

      As for the disposition of Plaintiffs’ pending Motion [4] for Summary

Judgment, the Court finds that it should be denied without prejudice, with leave to

reassert at the completion of discovery. See id.    The Magistrate Judge can enter a

case management order, including deadlines for the parties to conduct discovery

and file or renew any dispositive motions.

                                 III.   CONCLUSION

      To the extent the Court has not addressed any of the parties’ remaining

arguments, it has considered them and determined that they would not alter the

result. The Attorney General’s Rule 56(d) Motion [43] is well taken and will be

granted, and Plaintiff’s Motion [4] for Summary Judgment will be denied without

prejudice, with leave to reassert at the conclusion of discovery.

      In light of the grant of additional discovery, Plaintiffs have indicated in their

briefs that they withdraw the request in their Motion [3] for Preliminary Injunction

to consolidate consideration of the request for preliminary injunction with a trial on

the merits.   Remaining before the Court, then, is only the portion of Plaintiff’s

Motion [3] seeking the entry of a preliminary injunction, which the Court will

proceed to address separately.

      IT IS, THEREFORE, ORDERED AND ADJUDGED that, the Motion [43]

to Deny or Continue, or Alternatively, to Stay or Hold in Abeyance, Plaintiffs’



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Motion [4] for Summary Judgment under Federal Rule of Civil Procedure 56(d) filed

by Defendant Lynn Fitch, in her official capacity as the Attorney General of

Mississippi, is GRANTED, and Plaintiffs’ Motion [4] for Summary Judgment is

DENIED WITHOUT PREJUDICE, with leave to reassert upon the completion of

discovery in this case.   The parties are DIRECTED to contact the Magistrate

Judge to schedule a case management conference for the purpose of entering an

appropriate case management order.

      SO ORDERED AND ADJUDGED, this the 9th day of March, 2023.


                                       s/ Halil Suleyman Ozerden
                                       HALIL SULEYMAN OZERDEN
                                       UNITED STATES DISTRICT JUDGE




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